951 F.2d 1323
    293 U.S.App.D.C. 56
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.In re Jackson LEEDS, Petitioner
    No. 91-5183.
    United States Court of Appeals, District of Columbia Circuit.
    Dec. 6, 1991.
    
      Before WALD and KAREN LECRAFT HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the petition for writ of mandamus, it is
    
    
      2
      ORDERED that the petition be denied.   Mandamus is an extraordinary remedy to be utilized in the clearest and most compelling cases.   Kerr v. United States District Court for Northern Dist., 426 U.S. 394, 402 (1976).   It is justified only by "exceptional circumstances amounting to a judicial 'usurpation of power.' "   Gulfstream Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271, 289 (1988) (citations omitted);  see In re United States, 872 F.2d 472, 477-78 (D.C.Cir.1989).   The district court's seventeen month delay has not yet reached the level of "exigent circumstances" justifying issuance of the writ.   See Cartier v. Secretary of State, 506 F.2d 191, 199 (D.C.Cir.1974), cert. denied, 421 U.S. 947 (1975).
    
    